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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


  ACERTA PHARMA B.V. et al.,

                           Plaintiffs,

           v.                                    C.A. No. 24-cv-587-GBW

  CIPLA LIMITED, et al.,

                           Defendants.


                                         SCHEDULING ORDER

         This             day of                       , 20    , the Court having conducted an

 initial Rule 16(b) scheduling conference pursuant to Local Rule 16.1(b), and the parties having

 determined after discussion that the matter cannot be resolved at this juncture by settlement,

 voluntary mediation, or binding arbitration;

         IT IS HEREBY ORDERED that:

         1.        Rule 26(a)(1) Initial Disclosures and E-Discovery Default Standard. Unless

 otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to

 Federal Rule of Civil Procedure 26(a)(1) on or before October 18, 2024. If they have not already

 done so, the parties are to review the Court’s Default Standard for Discovery, Including

 Discovery of Electronically Stored Information (“ESI”), which is posted at

 http://www.ded.uscourts.gov (see Other Resources, Default Standard for Discovery) and is

 incorporated herein by reference.

         2.        Joinder of Other Parties and Amendment of Pleadings. All motions to join other

 parties, and to amend or supplement the pleadings, shall be filed on or before January 9, 2025 .




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 Unless otherwise ordered by the Court, any motion to join a party or motion to amend the

 pleadings shall be made pursuant to the procedures set forth in Paragraphs 3(g) and 4.

         3.         Discovery. Unless otherwise ordered by the Court or agreed to by parties, the

 limitations on discovery set forth in the Federal Rules of Civil Procedure shall be strictly

 observed.

                   (a)     Fact Discovery Cut Off. All fact discovery in this case shall be initiated

 so that it will be completed on or before February 13, 2026 .

                   (b)     Document Production. Document production shall be substantially

 complete by May 30, 2025 .

                   (c)     Samples. At the same time Defendants produce their core technical

 documents under paragraph 3(b), Defendants shall also disclose in writing to Plaintiffs whether

 they are able to produce reasonable quantities of unexpired samples (unexpired as of the entry of

 this Order) of Defendants’ ANDA product and API, to the extent such samples are in

 Defendants’ possession, custody, or control, or Defendants can obtain such samples pursuant to

 a contractual right with a supplier. No later than 10 days after Defendants produce their core

 technical documents under paragraph 3(b), Defendants shall meet and confer with Plaintiffs

 regarding the production of reasonable quantities of unexpired samples (unexpired as of the

 entry of this Order) of Defendants ANDA product and API to the extent such samples are in

 Defendants’ possession, custody, or control, or Defendants can obtain such samples pursuant to

 a contractual right with a supplier; such meet and confer will include discussion on the quantity

 of samples to be produced, the location of production, and the conditions under which the

 samples should be shipped.



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                   (d)   Requests for Admission. A maximum of           50       requests for

 admission are permitted for each side.

                   (e)   Interrogatories.

                         i      A maximum of             25      interrogatories, including

 contention interrogatories, are permitted for each side.

                         ii     The Court encourages the parties to serve and respond to

 contention interrogatories early in the case. In the absence of agreement among the parties,

 contention interrogatories, if filed, shall first be addressed by the party with the burden of proof.

 The adequacy of all interrogatory answers shall be judged by the level of detail each party

 provides (i.e., the more detail a party provides, the more detail a party shall receive).

                   (f)   Depositions.

                         i      Limitation on Hours for Deposition Discovery. Each side is

 limited to a total of   70      hours of taking testimony by deposition upon oral examination.

 This limit does not apply to depositions of expert witnesses.

                         ii     Location of Depositions. Any party or representative (officer,

 director, or managing agent) of a party filing a civil action in this district court must ordinarily

 be required, upon request, to submit to a deposition at a place designated within this district.

 Exceptions to this general rule may be made by order of the Court. A defendant who becomes a

 counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having filed an

 action in this Court for the purpose of this provision.

                   (g)   Disclosure of Expert Testimony.

                         i      Expert Reports. For the party who has the initial burden of proof

 on the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2) disclosure of expert

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 testimony is due on or before April 24, 2026 . The supplemental disclosure to contradict or

 rebut evidence on the same matter identified by another party is due on or before July 3, 2026 .

 Reply expert reports from the party with the initial burden of proof are due on or before August

 14, 2026 . No other expert reports will be permitted without either the consent of all parties or

 leave of the Court. Along with the submissions of the expert reports, the parties shall advise of

 the dates and times of their experts' availability for deposition.

                         ii     Objections to Expert Testimony. To the extent any objection to

 expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

 Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it

 shall be made by motion no later than fourteen (14) days after the close of expert discovery,

 unless otherwise ordered by the Court. Briefing will be presented pursuant to the Court's Local

 Rules.

                         iii    Expert Discovery Cut Off. All expert discovery in this case shall

 be initiated so that it will be completed on or before October 14, 2026 .

                   (h)   Discovery Matters and Disputes Relating to Protective Orders.

                         i      Any discovery motion filed without first complying with the

 following procedures will be denied without prejudice to renew pursuant to these procedures.

                         ii     Should counsel find, after good faith efforts — including verbal

 communications among Delaware and Lead Counsel for all parties to the dispute — that they are

 unable to resolve a discovery matter or a dispute relating to a protective order, the parties

 involved in the discovery matter or protective order dispute shall submit a joint letter in

 substantially the following form:



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                        Dear Judge Williams:

                                The parties in the above-referenced matter
                        write to request the scheduling of a discovery
                        teleconference.

                                The following attorneys, including at least one
                        Delaware Counsel and at least one Lead Counsel per
                        party, participated in a verbal meet-and-confer (in person
                        and/or by telephone) on the
                        following date(s): ___________________

                        Delaware Counsel: _______________________

                        Lead Counsel: ___________________________

                        The disputes requiring judicial attention are listed below:

                        [provide here a non-argumentative list of disputes
                        requiring judicial attention]

                        iii     On a date to be set by separate order, generally not less than forty-

 eight (48) hours prior to the conference, the party seeking relief shall file with the Court a letter,

 not to exceed three (3) pages, outlining the issues in dispute and its position on those issues. On

 a date to be set by separate order, but generally not less than twenty-four (24) hours prior to the

 conference, any party opposing the application for relief may file a letter, not to exceed three (3)

 pages, outlining that party's reasons for its opposition.

                        iv      Each party shall submit two (2) courtesy copies of its discovery

 letter and any attachments.

                        v       Should the Court find further briefing necessary upon conclusion

 of the telephone conference, the Court will order it. Alternatively, the Court may choose to

 resolve the dispute prior to the telephone conference and will, in that event, cancel the

 conference.

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          4.        Motions to Amend.

                   (a)     Any motion to amend (including a motion for leave to amend) a pleading

 shall NOT be accompanied by an opening brief but shall, instead, be accompanied by a letter,

 not to exceed three (3) pages, describing the basis for the requested relief, and shall attach the

 proposed amended pleading as well as a “blackline” comparison to the prior pleading.

                   (b)     Within seven (7) days after the filing of a motion in compliance with this

 Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5)

 pages.

                   (c)     Within three (3) days thereafter, the moving party may file a reply letter,

 not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

 teleconference to address the motion to amend.

          5.        Motions to Strike.

                   (a)     Any motion to strike any pleading or other document shall NOT be

 accompanied by an opening brief but shall, instead, be accompanied by a letter, not to exceed

 three (3) pages, describing the basis for the requested relief, and shall attach the document to be

 stricken.

                   (b)     Within seven (7) days after the filing of a motion in compliance with this

 Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5)

 pages.

                   (c)     Within three (3) days thereafter, the moving party may file a reply letter,

 not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

 teleconference to address the motion to strike.



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         6.        Technology Tutorials. Unless otherwise ordered by the Court, the parties jointly

 shall provide the Court, no later than the date on which the Joint Claim Construction Chart is

 due, a tutorial on the technology at issue. In that regard, the parties shall jointly submit to the

 Court an electronic tutorial of not more than thirty (30) minutes. The tutorial should focus on the

 technology in issue and educate the Court about the same and should not be used for argument.

 As to the format selected, the parties should confirm the Court's technical abilities to access the

 information contained in the tutorial (“mpeg”, “quicktime”, etc.). The parties may choose to file

 their tutorial under seal, subject to any protective order in effect.

         7.        Claim Construction Issue Identification. On or before April 18, 2025 , the

 parties shall exchange a list of those claim term(s)/phrase(s) that they believe need construction

 and their proposed claim construction of those term(s)/phrase(s). On or before April 25, 2025 ,

 the parties shall respond to and provide their proposed construction for any term(s)/phrase(s)

 presented by the other side for which the party did not initially provide a construction. These

 documents will not be filed with the Court. Subsequent to exchanging that list, the parties will

 meet and confer to prepare a Joint Claim Construction Chart to be filed no later than May 9,

 2025 . The Joint Claim Construction Chart, in Word format shall be e-mailed simultaneously

 with filing to gbw_civil@ded.uscourts.gov. The parties' Joint Claim Construction Chart should

 identify for the Court the term(s)/phrase(s) of the claim(s) in issue, and should include each

 party's proposed construction of the disputed claim language with citation(s) only to the intrinsic

 evidence in support of their respective proposed constructions. A copy of the patent(s) in issue

 as well as those portions of the intrinsic record relied upon shall be submitted with this Joint

 Claim Construction Chart. In this joint submission, the parties shall not provide argument.



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         8.        Claim Construction Briefing. Plaintiff shall serve, but not file, its opening brief,

 not to exceed 5,000 words, on June 9, 2025 . Defendant shall serve, but not file, its answering

 brief not to exceed 7,500 words, on July 11, 2025 . Plaintiff shall serve, but not file, its reply

 brief, not to exceed 5,000 words, on August 1, 2025 . Defendant shall serve, but not file its sur-

 reply brief, not to exceed 2,500 words, on August 22, 2025 . No later than September 12,

 2025 , the parties shall file a Joint Claim Construction Brief. The parties shall copy and paste

 their unfiled briefs into one brief, with their positions on each claim term in sequential order, in

 substantially the form below.

                             JOINT CLAIM CONSTRUCTION BRIEF

 I.      Agreed-Upon Constructions

 II.     Disputed Constructions

         [TERM 1]

                   1.     Plaintiff's Opening Position

                   2.     Defendant's Answering Position

                   3.     Plaintiff's Reply Position

                   4.     Defendant's Sur-Reply Position

         [TERM 2]

                   1.     Plaintiff's Opening Position

                   2.     Defendant's Answering Position

                   3.     Plaintiff's Reply Position

                   4.     Defendant's Sur-Reply Position

 If there are any materials that would be submitted in an index, the parties shall submit them in a

 Joint Appendix.

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          9.       Hearing on Claim Construction. Beginning at          9:30 a.m.        on

 [October ___, 2025], the Court will hear argument on claim construction. The parties shall

 notify the Court, by joint letter submission, no later than the date on which their answering claim

 construction briefs are due: (i) whether they request leave to present testimony at the hearing;

 and (ii) the amount of time they are requesting be allocated to them for the hearing.

          Provided that the parties comply with all portions of this Scheduling Order, and any

 other orders of the Court, the parties should anticipate that the Court will issue its claim

 construction order within sixty (60) days of the conclusion of the claim construction hearing. If

 the Court is unable to meet this goal, it will advise the parties no later than sixty (60) days after

 the conclusion of the claim construction hearing.

          10.      Interim Status Report. On     December 12, 2025      , counsel shall submit a joint

 letter to the Court with an interim report of the matters in issue and the progress of discovery to

 date. Thereafter, if the Court deems it necessary, it will schedule a status conference.

          11.      Supplementation. Absent agreement among the parties, and approval of the

 Court,

                   (a)    no later than   January 24, 2025 the patentee must finally supplement the

          identification of all accused products and serve final infringement contentions; and

                   (b)    no later than   March 14, 2025       the accused infringers must finally

          supplement the identification of all invalidity references and serve final invalidity

          contentions.

          12.      Case Dispositive Motions. Absent agreement between the parties, and prior

 approval from the Court, the Court will not hear case dispositive motions in ANDA cases.



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          13.      Applications by Motion. Except as otherwise specified herein, any application to

 the Court shall be by written motion filed with the Clerk. Any non-dispositive motion should

 contain the statement required by Local Rule 7.1.1.

          14.      Motions in Limine. Motion in limine shall not be separately filed. All in limine

 requests and responses thereto shall be set forth in the proposed pretrial order. Each SIDE shall

 be limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine

 request and any response shall contain the authorities relied upon; each in limine request may be

 supported by a maximum of three (3) pages of argument, may be opposed by a maximum of

 three (3) pages of argument, and the side making the in limine request may add a maximum of

 one (1) additional page in reply in support of its request. If more than one party is supporting or

 opposing an in limine request, such support or opposition shall be combined in a single three (3)

 page submission (and, if the moving party, a single one (1) page reply), unless otherwise ordered

 by the Court. No separate briefing shall be submitted on in limine requests, unless otherwise

 permitted by the Court.

          15.      Pretrial Conference. On [April ___, 2027], the Court will hold a pretrial

 conference in Court with counsel beginning at 9:30 a.m. Unless otherwise ordered by the Court,

 the parties should assume that filing the pretrial order satisfies the pretrial disclosure

 requirement of Federal Rule of Civil Procedure 26(a)(3). The parties shall file with the Court the

 joint proposed final pretrial order in compliance with Local Rule 16.3(c) and the Court's

 Preferences and Procedures for Civil Cases not later than seven (7) days before the pretrial

 conference. Unless otherwise ordered by the Court, the parties shall comply with the timeframes

 set forth in Local Rule 16.3(d)(1)-(3) for the preparation of the joint proposed final pretrial

 order.

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         The parties shall provide the Court two (2) courtesy copies of the joint proposed final

 pretrial order and all attachments. The proposed final pretrial order shall contain a table of

 contents and the paragraphs shall be numbered.

         16.       Application to Court for Protective Order. Should counsel find it will be

 necessary to apply to the Court for a protective order specifying terms and conditions for the

 disclosure of confidential information, counsel should confer and attempt to reach an agreement

 on a proposed form of order and submit it to the Court within fourteen (14) days from the date

 the Court enters this Order. Should counsel be unable to reach an agreement on a proposed form

 of order, counsel must follow the provisions of Paragraph 3(g) above.

                   Any proposed protective order must include the following paragraph:

                   Other Proceedings. By entering this order and limiting the
                   disclosure of information in this case, the Court does not intend to
                   preclude another court from finding that information may be
                   relevant and subject to disclosure in another case. Any person or
                   party subject to this order who becomes subject to a motion to
                   disclose another party's information designated “confidential”
                   [the parties should list any other level of designation, such as
                   “highly confidential,” which may be provided for in the
                   protective order] pursuant to this order shall promptly notify that
                   party of the motion so that the party may have an opportunity to
                   appear and be heard on whether that information should be
                   disclosed.

         17.       Papers Filed Under Seal. In accordance with section G of the Revised

 Administrative Procedures Governing Filing and Service by Electronic Means, a redacted

 version of any sealed document shall be filed electronically within seven (7) days of the filing of

 the sealed document.

         18.       Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies

 of filings (i.e., briefs, appendices, exhibits, declarations, affidavits etc.). Courtesy copies of
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 appendices and exhibits should include hard tabs. This provision also applies to papers filed

 under seal.

         19.       ADR Process. Pursuant to the District of Delaware’s Standing Order, this matter

 shall not be referred to a magistrate judge to explore the possibility of alternative dispute

 resolution.

         20.       Trial. This matter is scheduled for a five-day bench trial, beginning at 9:30 a.m.

 on [April / May ___, 2027], with the subsequent trial days beginning at 9:30 a.m. The trial will

 be timed, as counsel will be allocated a total number of hours in which to present their

 respective cases.

         21.       Post-Trial Briefing. The parties will address the post-trial briefing schedule and

 page limits in the proposed final pretrial order.




                                                     The Honorable Gregory B. Williams
                                                     United States District Judge




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                     Counsel Shall Provide a Chart of All Relevant Deadlines

                        EVENT                                          DEADLINE

  Parties to exchange their initial disclosures under       October 18, 2024
  Federal Rule of Civil Procedure 26(a)(1) and
  disclosures under Paragraph 3 of the Delaware
  Default Standard for Discovery

  Plaintiffs’ identification of accused products and        November 15, 2024
  asserted claims and production of file histories
  (paragraph 4(a) of the Default Standard for
  Discovery, Including Discovery of Electronically
  Stored Information (“Default Standard”))

  Defendants’ production of their ANDA (paragraph           November 30, 2024
  4(b) of the Default Standard)

  Any motions to join other parties or amend pleadings      January 9, 2025
  due

  Plaintiffs’ Initial Infringement Contentions              January 24, 2025
  (paragraph 4(c) of the Default Standard)

  Defendant’s Initial Invalidity Contentions                March 14, 2025

  Parties to exchange lists of claim terms/phrases and      April 18, 2025
  proposed constructions


  Parties shall respond to and provide their proposed      April 25, 2025
  construction for any terms/phrases presented by the
  other side for which the party did not initially provide
  a construction

  Parties to file a Joint Claim Construction Chart          May 9, 2025

  Substantial completion of document productions            May 30, 2025

  Plaintiffs to serve opening Claim Construction brief      June 9, 2025

  Defendants to serve answering Claim Construction          July 11, 2025
  brief

  Plaintiffs to serve reply Claim Construction brief        August 1, 2025


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  Defendants to serve sur-reply Claim Construction          August 22, 2025
  brief

  Parties to file a Joint Claim Construction Brief, and a   September 12, 2025
  motion requesting claim construction hearing

  Claim Construction Hearing                                At the Court’s convenience in
                                                            October 2025

  Counsel shall submit a joint letter to the Court with     December 12, 2025
  an interim report of the matters in issue and the
  progress of discovery to date

  Fact discovery cut-off                                    February 13, 2026

  Initial Rule 26(a)(2) disclosure of expert testimony      April 24, 2026
  due for party bearing initial burden of proof on
  subject matter

  Plaintiffs’ responsive reports (including any reports     July 3, 2026
  regarding objective indicia of nonobviousness) due
  and Defendants’ responsive reports due

  Reply expert reports due                                  August 14, 2026

  Parties to exchange dates and times of their experts’     August 14, 2026
  availability for deposition

  Parties to complete depositions of experts                October 14, 2026

  Any Daubert motions due                                   November 13, 2026

  Parties to file joint proposed final pretrial order       April 5, 2027
  (fourth business day before date of final pretrial
  conference)

  Rule 16(e) final pretrial conference                      At the Court’s convenience in
                                                            April 2027

  Five-day bench trial                                      At the Court’s convenience in
                                                            April or May 2027




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